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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-03751-STV

JANINE L. GENTILE,

      Plaintiff,

v.

COLORADO STATE UNIVERSITY

      Defendant.

             JOINT MOTION TO EXTEND DISCOVERY DEADLINES

      The Parties, by and through their respective counsel, hereby request the

Court extend discovery deadlines in this case as follows:

         •    That the Parties’ respective deadlines to respond to written discovery

              requests be extended to April 22, 2022.1

         •    That the discovery cut-off date be extended from March 24, 2022, to

              May 13, 2022.

         •    That the dispositive motion deadline be extended from May 24, 2022,

              to June 24, 2022.

         •    That the final pretrial conference be reset from June 22, 2022, to a

              date and time convenient for the Court.

      As grounds therefore, the Parties state as follows:



1Both Parties have issued written discovery requests that have various deadlines.
Rather than extend each deadline separate, the Parties wish to consolidate the
deadline for all written discovery requests.
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         1. This is the first request to extend discovery deadlines.

         2. The parties have scheduled a mediation for April 4, 2022. To avoid

             expending potentially unnecessary time and costs conducting

             discovery, the Parties wish to extend the current deadlines as stated

             above.

         3. Trial has not yet been scheduled in this matter, and the requested

             extension will not impact any other deadlines.

         4. No parties will be prejudiced by the granting of this motion.

      WHEREFORE, the Parties respectfully request the Court enter an order

extending the discovery deadlines in this case as set forth above.

      Respectfully submitted this 17th day of February, 2022

                                            PHILIP J. WEISER
                                            Attorney General

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                         CERTIFICATE OF SERVICE
       I certify that I served the foregoing JOINT MOTION TO EXTEND
DISCOVERY DEADLINES was served upon all parties herein by e-filing with the
CM/ECF system maintained by the Court, this 17th of February 2022, addressed as
follows:


Pro Se Plaintiff
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j9gentile@gmail.com


                                      s/ La’Tasha Carter
